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06
                              UNITED STATES DISTRICT COURT
07                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
08
     UNITED STATES OF AMERICA,            )
09                                        )
                 Plaintiff,               )           Case No. CR06-38-RSM-JPD
10                                        )
           v.                             )
11                                        )
     HARJEEVAN PARHAR,                    )           DETENTION ORDER
12                                        )
                 Defendant.               )
13   ____________________________________ )

14 Offenses charged:

15          Count 1: Conspiracy to Smuggle and Transport Illegal Aliens in violation of 8 U.S.C.

16 § 1324.

17          Counts 12, 14, 16, and 18: Bringing Illegal Aliens for Financial Gain in violation of 8

18 U.S.C. § 1324(a)(2)(B)(ii), and 18 U.S.C. § 2.

19          Counts 13 and 15: Transporting Illegal Aliens in violation of 8 U.S.C.

20 §§ 1324(a)(1)(A)(ii), 1324(a)(1)(A)(v)(ii), and 1324 (a)(1)(B)(i).

21 Date of Initial Appearance and Detention Hearing: May 25, 2006.

22          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

23 based upon the factual findings and statement of reasons for detention hereafter set forth,

24 finds the following:

25         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

26          (1)    Defendant is a citizen of Canada and viewed as a risk of nonappearance.

     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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01         (2)     Defendant has no ties to this community or to the Western District of

02 Washington.

03         (3)     The defendant has stipulated to detention, but reserves the right to continued

04 detention if circumstances should change.

05         (4)     There appear to be no conditions or combination of conditions other than

06 detention that will reasonably address the risk of flight and assure the defendant’s appearance

07 at future Court hearings.

08         IT IS THEREFORE ORDERED:

09         (1)     Defendant shall be detained pending trial and committed to the custody

10                 of the Attorney General for confinement in a correction facility

11                 separate, to the extent practicable, from persons awaiting or serving

12                 sentences or being held in custody pending appeal;

13         (2)     Defendant shall be afforded reasonable opportunity for private

14                 consultation with counsel;

15         (3)     On order of a court of the United States or on request of an attorney for

16                 the government, the person in charge of the corrections facility in

17                 which defendant is confined shall deliver the defendant to a United

18                 States Marshal for the purpose of an appearance in connection with a

19                 court proceeding; and

20         (4)     The clerk shall direct copies of this Order to counsel for the United

21                 States, to counsel for the defendant, to the United States Marshal, and

22                 to the United States Pretrial Services Officer.



                                                         A
23         DATED this 26th day of May, 2006.

24
                                                         JAMES P. DONOHUE
25                                                       United States Magistrate Judge
26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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